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             IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF COLORADO
 Civil Action No.                        23-cv-01550-KLM



  Eric Witt, Plaintiff


 v.
      1) Adams County,
      2) Adams County Sheriff’s Office,
      3) Antonio Maez, Adams County Sheriff's Deputy,
      4) Janeway Law Firm, PC,
      5) Town of Bennett,
      6) Judge Shawn Day,
      7) Prosecutor Joseph Lico,
      8) Kristofer Runge, Adams County Sheriff's Deputy,
      9) John Doe #1, Adams County Sheriff's Deputy,
      10) John Doe #2, Adams County Sheriff's Deputy,
      11) Sonya Zimmerman, Town of Bennett Community Service Officer,
      12) Keith Buono, Town of Bennett Lead Community Service Officer,
      13) Kendra Hawes, Administrative Assistant,
      14) Caleb J. Conner, Battalion Chief - Fire Marshal, 15) John/Jane Doe of Town of Bennett(utilities) ,


      PLAINTIFF'S MOTION TO EXPEDITE PROCEEDINGS AND FOR STATUS
                              CONFERENCE
 I. INTRODUCTION

 Plaintiff Eric Witt, proceeding pro se, respectfully moves this Court to expedite proceedings in

 the above-captioned matter and to immediately effect service of process on all defendants. This

 motion addresses the prolonged inaction in this case, which has caused undue delay in the
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 adjudication of Plaintiff's civil rights claims and the failure to serve defendants as required by

 law for in forma pauperis plaintiffs.


 The delay in this case has extended beyond reasonable bounds, potentially jeopardizing

 Plaintiff's constitutional rights and the integrity of the judicial process. As of the date of this

 filing, 389 days have elapsed since the initial complaint was filed on June 16, 2023 (ECF No. 1),

 and 103 days have passed since the last court action on March 28, 2024 (ECF No. 23). This

 protracted timeline not only potentially prejudices Plaintiff but also raises concerns regarding the

 public interest in the prompt resolution of civil rights matters.


 Most critically, despite Plaintiff's in forma pauperis status being granted on June 29, 2023 (ECF

 No. 6), the Court has not yet fulfilled its statutory duty to serve the defendants. This omission has

 effectively stalled the case, preventing it from progressing to even the most preliminary stages of

 litigation.


 Through this motion, Plaintiff seeks to bring these issues to the Court's attention and respectfully

 requests action to address these procedural matters and move this case forward. Plaintiff also

 wishes to highlight the potential risk to crucial evidence, as detailed in Plaintiff's Emergency

 Motion for Court-Appointed Forensic Examination of Writ of Restitution File(s) (ECF No. 25),

 filed on April 24, 2024.


 II. PROCEDURAL HISTORY

 The timeline of key events in this case underscores the procedural history:


     •   June 16, 2023: Plaintiff files the initial complaint alleging constitutional violations by

         various government entities and officials. (ECF No. 1)
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    •   June 29, 2023: The Court grants Plaintiff's motion to proceed in forma pauperis. (ECF

        No. 6)

    •   July 17, 2023: Plaintiff files an amended complaint in response to the Court's order to

        cure deficiencies. (ECF No. 13)

    •   July 31, 2023: The case is reassigned from retiring Magistrate Judge Kristen L. Mix to

        Magistrate Judge Susan B. Prose. (ECF No. 14)

    •   January 16, 2024: The Court issues an order directing Plaintiff to file an amended

        complaint. (ECF No. 15)

    •   March 22, 2024: Plaintiff files a second amended complaint in an effort to comply with

        the Court's orders. (ECF No. 21)

    •   March 28, 2024: The Court issues an order accepting the second amended complaint for

        review. (ECF No. 23)

    •   April 22, 2024: Plaintiff files an emergency motion to preserve evidence, compel

        disclosure, and grant emergency monetary relief. (ECF No. 24)

    •   April 24, 2024: Plaintiff files an Emergency Motion for Court-Appointed Forensic

        Examination of Writ of Restitution File(s). (ECF No. 25)

    •   July 10, 2024: Current date - 104 days have elapsed since the last court action.


 Notably absent from this timeline is any indication that the defendants have been served with

 process. Despite the clear statutory mandate under 28 U.S.C. § 1915(d) and Federal Rule of Civil

 Procedure 4(c)(3) requiring the Court to effect service for in forma pauperis plaintiffs, no such

 action has been taken in the 376 days since Plaintiff's in forma pauperis status was granted.
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 This case has now been pending for a total of 390 days without progressing beyond the initial

 pleading stage. Such an extended period without substantial progress is particularly concerning

 in a civil rights action, where the allegations involve potential ongoing constitutional violations

 and the possibility of continuing harm to the Plaintiff.


 The procedural history of this case reveals a pattern of protracted inaction that goes beyond

 typical judicial deliberation timeframes. It underscores the need for this Court's attention to

 ensure that Plaintiff's claims are adjudicated in a timely manner and that all parties are properly

 brought before the Court to address these allegations.


 Furthermore, as detailed in Plaintiff's Emergency Motions (ECF Nos. 24 and 25), there are

 serious concerns regarding the authenticity and integrity of key evidence in this case, specifically

 the writ of restitution files, and the need for preservation of evidence. The delay in proceedings

 increases the risk that crucial evidence may be lost, altered, or degraded, potentially

 compromising Plaintiff's ability to prove his case.


 Plaintiff respectfully submits that these circumstances warrant the Court's prompt attention to

 move this case forward and to address the pending motions, including the requests for evidence

 preservation and forensic examination of key evidence.


 III. LEGAL STANDARD

 The timely administration of justice is a fundamental responsibility of the federal judiciary. As

 the Supreme Court noted in Bounds v. Smith, 430 U.S. 817, 821 (1977), "it is now established

 beyond doubt that prisoners have a constitutional right of access to the courts." This principle

 extends to all civil litigants, particularly in cases involving alleged constitutional violations.
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 In cases where the plaintiff is proceeding in forma pauperis, the court bears additional

 responsibilities. Specifically, 28 U.S.C. § 1915(d) mandates that "The officers of the court shall

 issue and serve all process, and perform all duties in such cases." This requirement is echoed in

 Federal Rule of Civil Procedure 4(c)(3), which states that the court "must" order service by a

 United States marshal or deputy marshal if the plaintiff is authorized to proceed in forma

 pauperis.


 The Tenth Circuit has addressed the screening process for in forma pauperis complaints in

 several cases. In Nasious v. Two Unknown B.I.C.E. Agents, 492 F.3d 1158, 1163 (10th Cir.

 2007), the court emphasized that district courts must "review and consider a plaintiff's

 complaint" to determine if it is frivolous, malicious, or fails to state a claim. However, this

 process should not unduly delay the progression of meritorious cases.


 Regarding case management, the Tenth Circuit has consistently emphasized the importance of

 efficient processing. In United States v. Gonzales, 137 F.3d 1431, 1435 (10th Cir. 1998), the

 court affirmed that district courts have "substantial discretion in managing their dockets," but this

 discretion must be exercised in a manner that ensures timely resolution of cases.


 IV. ARGUMENT

 A. Undue Delay in Case Progression


 The 390-day pendency of this case without substantial progress represents a delay that warrants

 attention. While the Court's docket management discretion is broad, it is not unlimited. In United

 States v. Abdush-Shakur, 465 F.3d 458, 462 (10th Cir. 2006), the court noted that "delay is a

 significant factor in evaluating whether a defendant has been deprived of his rights." Although
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 this case dealt with criminal proceedings, the principle applies to civil rights cases where

 constitutional violations are alleged to be ongoing.


 The reassignment of this case due to Judge Mix's retirement on July 31, 2023, may account for

 some delay. However, over eleven months have passed since the reassignment without

 substantial progress. As noted in United States v. Gonzales, 137 F.3d at 1435, "it is the

 responsibility of the court to ensure that cases do not stagnate on its docket."


 B. Potential Prejudice to Plaintiff


 The ongoing delay may have significant implications for Plaintiff:


    1. Alleged Ongoing Deprivation of Constitutional Rights: The amended complaint alleges

        serious violations of Plaintiff's constitutional rights. Each day that passes without

        adjudication potentially extends these alleged violations.

    2. Financial Hardship: The alleged unlawful eviction and property seizure continue to

        impose financial strain on Plaintiff, a burden that increases with time.

    3. Risk of Evidence Loss: As detailed in Plaintiff's Emergency Motions (ECF Nos. 24 and

        25), there are concerns about the integrity of key evidence, specifically the writ of

        restitution files. The delay increases the risk that crucial evidence may be lost, destroyed,

        or degraded.


 The Tenth Circuit has recognized that delay can cause significant prejudice to plaintiffs. In Jones

 v. Thompson, 996 F.2d 261, 264 (10th Cir. 1993), the court noted that "delay inherently

 increases the risk that witnesses' memories will fade and evidence will become stale."
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 C. Failure to Serve Defendants


 The Court's duty to serve the defendants for in forma pauperis plaintiffs is clearly established in

 both statute (28 U.S.C. § 1915(d)) and rule (Fed. R. Civ. P. 4(c)(3)). The Tenth Circuit has

 emphasized the importance of proper service in In re Kirkland, 86 F.3d 172, 175 (10th Cir.

 1996), stating that "the right to notice and an opportunity to be heard must be granted at a

 meaningful time and in a meaningful manner."


 The absence of service for over a year since granting in forma pauperis status is a departure from

 these requirements. This has effectively halted the case, preventing it from progressing to even

 the most preliminary stages of litigation.


 D. Public Interest in Timely Resolution of Civil Rights Claims


 The prompt resolution of civil rights claims serves a vital public interest. In Smith v. Maschner,

 899 F.2d 940, 947 (10th Cir. 1990), the Tenth Circuit emphasized that "the public has an interest

 in having constitutional claims decided on their merits, and without undue delay." Furthermore,

 in Garrett v. Selby Connor Maddux & Janer, 425 F.3d 836, 841 (10th Cir. 2005), the court noted

 that "the right of access to the courts is an aspect of the First Amendment right to petition the

 Government for redress of grievances."


 E. Court's Obligation to Screen Complaint


 While the Court has a duty to screen complaints filed in forma pauperis, this obligation does not

 justify extensive delay. In Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991), the court

 noted that while pro se pleadings are to be construed liberally, "it is [not] the proper function of
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 the district court to assume the role of advocate for the pro se litigant." This suggests that the

 screening process should be conducted efficiently.


 Plaintiff has made good-faith efforts to comply with the Court's orders, including filing two

 amended complaints. The ongoing absence of either a dismissal of the complaint or an order for

 service on the defendants suggests a need for attention to the Court's screening process.


 V. REQUESTED RELIEF

 In light of the foregoing, Plaintiff respectfully requests that this Court:


    1. Complete the screening of the second amended complaint filed on March 22, 2024 (ECF

        No. 21) within 14 days of this order. The Tenth Circuit has emphasized the importance of

        timely screening in Nasious v. Two Unknown B.I.C.E. Agents, 492 F.3d 1158, 1163

        (10th Cir. 2007).

    2. If the complaint is found to state a claim upon which relief can be granted, order

        immediate service of process on all defendants by the U.S. Marshals Service, as required

        by 28 U.S.C. § 1915(d) and Federal Rule of Civil Procedure 4(c)(3) for in forma pauperis

        plaintiffs.

    3. Set a scheduling conference within 30 days of service to establish case deadlines,

        including those for: a. Defendants' responsive pleadings b. Initial disclosures c.

        Discovery d. Dispositive motions

    4. Provide a written explanation to the Plaintiff within 14 days, addressing: a. The reasons

        for the delay in screening and service b. Any issues identified with the amended

        complaint c. The expected timeline for case progression
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    5. Rule on Plaintiff's pending Emergency Motion for Court-Appointed Forensic

        Examination of Writ of Restitution File(s) (ECF No. 25) within 14 days of this order,

        given the potential risk to crucial evidence.

    6. Rule on Plaintiff's Emergency Motion to Preserve Evidence, Compel Disclosure, and

        Grant Emergency Monetary Relief (ECF No. 24) within 14 days of this order, given the

        urgency of the issues raised.

    7. Implement measures to ensure timely processing of in forma pauperis civil rights cases in

        the future, in accordance with the Tenth Circuit's emphasis on efficient case management

        in United States v. Gonzales, 137 F.3d 1431, 1435 (10th Cir. 1998).

    8. Grant any other relief the Court deems just and proper to ensure the timely progression of

        this case and to safeguard Plaintiff's constitutional right of access to the courts, as

        recognized in Bounds v. Smith, 430 U.S. 817, 821 (1977) and reaffirmed by the Tenth

        Circuit in Petrick v. Maynard, 11 F.3d 991, 994 (10th Cir. 1993).


 VI. CONCLUSION


 The delay in this case has the potential to prejudice Plaintiff's rights, allow alleged constitutional

 violations to persist, and undermine the public's interest in the prompt resolution of civil rights

 claims. The failure to serve defendants despite Plaintiff's in forma pauperis status is inconsistent

 with statutory mandates and has stalled the case at its earliest stage.


 As the Tenth Circuit emphasized in Smith v. Maschner, 899 F.2d 940, 947 (10th Cir. 1990), "the

 public has an interest in having constitutional claims decided on their merits, and without undue

 delay." This Court now has the opportunity to address the procedural matters that have affected
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 this case and to ensure that Plaintiff's allegations of constitutional violations receive timely

 consideration.


 The gravity of the allegations in this case, including potential fraud in court documents and

 ongoing deprivation of constitutional rights, underscores the urgent need for judicial attention.

 The risk of evidence loss or degradation, as highlighted in Plaintiff's emergency motions, further

 emphasizes the need for prompt action.


 Plaintiff has diligently pursued his claims and made good-faith efforts to comply with all Court

 orders. Plaintiff respectfully requests that the Court fulfill its obligations to manage this case

 efficiently, serve the defendants as required by law, and move these proceedings forward. The

 interests of justice, the preservation of crucial evidence, and the protection of constitutional

 rights all call for expeditious action in this matter.


 Respectfully submitted this 10th day of July, 2024.


 s/Eric Witt
 Eric Witt
 Without Prejudice U.C.C. 1-308
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  Plaintiff, Pro Se

 CERTIFICATE OF SERVICE


 I hereby certify that on July 10, 2024, I filed the foregoing document with the Clerk of the Court

 using the CM/ECF system. As no defendants have yet been served due to the Court's delay, no

 further service is possible at this time.


 s/Eric Witt
 Eric Witt
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